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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )   No.    1:21-cr-28 (APM)
                                                 )
KELLY MEGGS,                                     )
                                                 )
                        Defendant.               )

                      GOVERNMENT’S OPPOSITION TO
           DEFENDANT’S RENEWED REQUEST FOR PRETRIAL RELEASE

       The United States respectfully files this memorandum in opposition to Defendant Kelly

Meggs’s renewed request for pretrial release. Defendant Meggs plotted with his co-conspirators

to stop the certification of the Electoral College vote, prepared to use violence if necessary, and

stormed the Capitol. And he was the “team leader” of the attack. For these reasons, the Court

should maintain the order that the defendant be detained pending trial.

  I.      BACKGROUND

       Video recorded on January 6, 2021, captured the defendant among a “stack” of more than

a dozen individuals dressed in camouflaged para-military gear moving in a deliberate and

organized manner toward the Capitol building. An additional recording shows the stack moments

later embedded near the front of a violent mob that is attempting to literally break open the doors

of the Capitol building. The video depicts the doors later opening and the subsequent flow of

people into the building, to include the defendant and members of the stack.           Selfies and

surveillance video taken inside of the Capitol Rotunda further evince Defendant Meggs’s and his

coconspirators’ presence inside.

       Co-defendant Jessica Watkins characterized their insurgent effort to breach the Capitol

building as “forcing entry into the Capitol building” and said that it was “[f]orced. Like Rugby.”
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On the afternoon and evening of January 6, co-defendant Graydon Young wrote on Facebook that

“[w]e stormed and got inside.” Defendant Meggs himself wrote in a Signal chat, “Ok who gives

a damn who went in there…. We are now the enemy of the State.” An hour later, Defendant

Meggs wrote to the same Signal chat: “We aren’t quitting!! We are reloading!!”

       Based on his actions described above, on February 17, 2021, Defendant Meggs was

arrested on a complaint charging him with conspiracy, in violation of 18 U.S.C. § 371 (a felony);

destruction of government property, in violation of 18 U.S.C. § 1361 (a felony); obstruction of an

official proceeding, in violation of 18 U.S.C. § 1512(c)(2) (a felony); and entering a restricted

building without lawful authority, in violation of 18 U.S.C. § 1752(a) (a misdemeanor). Defendant

Meggs made his initial appearance in the Middle District of Florida the same day, and was detained

pending a hearing pursuant to 18 U.S.C. § 3142(f).

       On February 19, 2021, a federal grand jury in Washington, D.C., indicted Defendant Meggs

(along with eight co-defendants, including his wife Connie Meggs) on the same four counts from

the complaint. 1

       On February 22, 2021, Magistrate Judge Philip R. Lammens of the Middle District of

Florida conducted a detention hearing and ordered that Defendant Meggs be detained pending trial.

Judge Lammens wrote:

               There is a presumption of detention in this case. The conduct is such that
               someone who is alleged to have committed it is inherently unlikely to
               appear or not endanger the community. In other words, given the nature of
               the alleged conduct they are a risk of flight and danger to the community.
               The nature of the offense and the weight of the evidence are weighed
               heavily then….

               This case isn’t just about breaking the law. We see those cases everyday.
               This case is different. It is more. It is about challenging the very existence
               of the law. It is about a challenge to the very institution responsible for

1
 On March 12, 2021, the grand jury handed up a second superseding indictment, adding a tenth defendant
but leaving the charges as to Defendant Meggs unchanged.

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                 making the law, while it was in the process of carrying out its lawful duty.
                 They were carrying out a duty that their oath required them to fulfill….

                 When the Court considers then the seriousness of the charges against you
                 and the weight of the evidence, there is only one conclusion. You are a
                 danger to the community and must be detained.

(ECF 17; Case 5:21-mj-01036-PRL (M.D. Fla.).)

          On March 17, 2021, Defendant Meggs filed the instant motion.

    II.     LEGAL STANDARD

          Defendant Meggs styles his pleading as a “renewed request for pretrial release,” but it is

unclear to the government whether he is seeking to “reopen[]” the detention hearing under Section

3142(f) based on alleged new material information, or whether he is filing a “motion for revocation

or amendment” of Magistrate Judge Lammens’s detention order under Section 3145(b). His

pleading cites to Section 3142 (but not Section 3145), and he avers that “significant information

has come to light that militates strongly in favor of the defendant’s pretrial release.” (ECF 82 at

2-3.) For that reason, it appears that he is seeking to “reopen” the detention hearing under Section

3142(f), which means he must come forward with “information that was not known to the movant

at the time of the hearing and that has a material bearing” on the underlying detention question.

See United States v. Lee, 451 F. Supp. 3d 1, 5 (D.D.C. 2020). 2

          At a detention hearing, the government may present evidence by way of a proffer. United

States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996).




2
 If Defendant Meggs is indeed moving for review under Section 3145(b), the Court should review the
magistrate’s release order de novo. See, e.g., United States v. Tortora, 922 F.2d 880, 883-84 (1st Cir.
1990) (district court engages in de novo review of contested pretrial release or detention order made by
magistrate).

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    III.     ARGUMENT

           a. Alleged “Changed” Circumstances

           Defendant Meggs points to two facts that he suggests constitute material information that

was not known to him at the time of the detention hearing before Judge Lammens: (a) Defendant

Meggs made a statement to law enforcement after his arrest, and (b) the government provided a

disclosure letter about damage to the Capitol’s doors. (ECF 82 at ¶ 10.) 3 Neither point warrants

reconsideration of Judge Lammens’s detention decision.

           On the first point, yes, Defendant Meggs made a statement to the FBI in the hours following

his arrest. But that fact was known at the time of Defendant Meggs’s first detention hearing, and,

regardless, simply speaking with law enforcement does not mean that a person is not a danger.

This is especially so when some of the statements Defendant Meggs made to the FBI appear to be

in conflict with the evidence.

           On the second point, the government provided a disclosure letter to defense counsel about

the timing of some of the damage to the Capitol doors. The double doors through which Defendant

Meggs and his co-defendants unlawfully entered the Capitol suffered extensive damage. That

damage includes, but is not necessarily limited to, panes of glass being smashed, a door handle

being ripped off, a door closer being broken, and the doors themselves being damaged by chemical

spray. The U.S. Capitol complex suffered millions of dollars in total damage from the rioters on




3
  Defendant Meggs also alleges that the government, at the initial detention hearing, “inaccurately stated”
that a police officer was beaten to death, “inten[ded]” to “inflame the court,” and “quite incredibly”
informed the court that there was a concern that the Meggses “would kill federal law enforcement
officers.” (ECF 82 at ¶¶ 12-14.) While the government did not locate these precise statements in the
transcript of the Feb. 22, 2021, detention hearing – and Defendant Meggs did not cite any particular page
or passage – it is true that one police officer lost his life (and more than a hundred officers were injured)
in connection with the attack on the Capitol. Regardless, Judge Lammens did not reference these points
in his written order finding that Defendant Meggs had not rebutted the presumption that he was a danger
to the community. (ECF 17; Case 5:21-mj-01036-PRL (M.D. Fla.).)

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January 6. Just within the Rotunda – where Defendant Meggs spent much time after breaching

the Capitol – there was significant damage (well in excess of $1000) to artwork and the marble

flooring.

       The disclosure letter indicated that the panes of glass appear to have been smashed prior to

Defendant Meggs’s entry. That does not mean that Defendant Meggs is not legally responsible

for the damage to the glass – under theories of aiding and abetting or conspiracy – or for the

remainder of the damage to the doors. In the minutes directly prior to the defendant’s breach of

the Capitol, hundreds of rioters surrounded and assaulted law enforcement officers who were

attempting to prohibit entry. Video captures the officers in the terrifying final minutes before the

breach occurs, as they try to stop the rioters. 4 The collective mob pushes forward with a common

goal, yelling “Take their shields,” “Our house,” and “We want Trump!” The rioters fire pepper

spray at the officers (which strikes the Capitol doors), beat the officers with shields and flagpoles,

and fire numerous projectiles at the officers and the doors. The crowd violently yanks on the

doors, ultimately forcing them open. Defendant Meggs’s group was immediately behind the front

line of the mob, aiding and abetting their attack, and then capitalizing on the breach moments later.

When the rioters at large, including Defendant Meggs and the stack, eventually gain entry, a

woman shouts “We did it,” as alarm bells blare.

       Regardless, the government is not relying on the strength of the evidence as to the Section

1361 violation to support Defendant Meggs’s detention. In fact, once the grand jury has found

probable cause that Defendant Meggs violated Section 1361 (felony) – and here, it has – then under




4
 See https://www.youtube.com/watch?app=desktop&v=MVullQb-Lec (Oath Keeper stack visible at
4:10).


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the guidance of United States v. Singleton, 182 F.3d 7, 12 (D.C. Cir. 1999), the government has

satisfied its burden under Section 3142(f) 5 to trigger a detention analysis under Section 3142(g).

          Because Defendant Meggs has not articulated any significant changes to the factual

findings that underpinned Magistrate Judge Lammens’s detention order, the Court should deny the

motion for reconsideration. See Lee, 451 F. Supp. 3d 1 at 5.

          b. Basis for Detention

                   i. Introduction

          Defendant Meggs’s motion fails to recognize that there is a rebuttable presumption in favor

of Defendant Meggs’s detention, pursuant to 18 U.S.C. § 3142(e)(3)(C). A felony charge of

destroying government property under 18 U.S.C. § 1361 is an offense listed in 18 U.S.C.

§ 2332b(g)(5)(B), and is punishable by a term of imprisonment of up to 10 years, which falls within

the statutory requirement that the predicate offense provide for punishment of “10 years or more.”

Because the grand jury found probable cause that the defendant committed a felony violation of

Section 1361, the rebuttable presumption applies here.

          Judge Lammens found that the presumption applied – and that it was not rebutted. This

Court should not disturb that ruling.

          Even if the Court were to reach the merits of Judge Lammens’s detention decision,

Defendant Meggs has not proffered facts to rebut the presumption of detention, and the factors in

Section 3142(g) still favor Defendant Meggs’s detention. 6 None of the information presented in


5
    The same rationale would apply to the detention analysis under Section 3142(e)(3)(C).
6
  Moreover, the indicted crime of a Section 1361 violation is an enumerated offense under Section
2332b(g)(5)(B), and the offense was clearly calculated to “influence or affect the conduct of government
by intimidation or coercion” under Section 2332b(g)(5)(A). As such, the offense constitutes a federal crime
of terrorism for purposes of evaluating the “nature and circumstances of the offense charged” under Section
3142(g)(1).


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Defendant Meggs’s pleading negates that he conspired with others to stop Congress’s certification

of the Electoral College vote, took steps to aid this conspiracy, and then participated in the storming

of the Capitol itself, all the while acting as a leader of the group.

               ii. Preparation: Defendant Meggs’s Actions Prior to Storming the Capitol

        Defendant Meggs engaged in extensive planning and financing to come to Washington,

D.C., and coordinate with his coconspirators and others on how to accomplish his goals of

disrupting Congress.

                        1. Facebook records

        On November 9, 2020, shortly after the presidential election, Defendant Meggs exhorted

others on Facebook to join him in “doing shit” rather than just “talking on Facebook,” and asked

those who were ready to “join the fight” to message him directly:




        On December 19, Defendant Meggs discussed his coordination with other groups who were

also planning to be in Washington, D.C., on January 6:




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       On December 22, Defendant Meggs told others he will be going to the Capitol and it will

be wild:




       On December 22, Defendant Meggs discussed coordination with the Proud Boys and the

number of Oath Keepers who will be in Washington, D.C., on January 6:




                                              8
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       On December 22 to 25, Defendant Meggs recruited another person to join him in

Washington, D.C., and announced that he was named “state lead” of Florida (presumably of the

Oath Keepers):




       On December 25, Defendant Meggs provided a provisions list – mace, gas mask, baton,

plate carrier – and discussed coordination with the Proud Boys:




                                               9
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       On December 26, Defendant Meggs told another person to “wait for the 6th when we are

all in DC to insurrection”:




                                            10
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       On December 30, Defendant Meggs told another person that while Defendant Meggs will

not be “carrying weapons, he will have a “heavy” QRF – or Quick Reaction Force – on standby,

presumably to ferry weapons to him and his team:




       On January 3, Defendant Meggs told another person that Defendant Meggs and more than

200 Oath Keepers were “called” to Washington because what Vice President Pence is doing

“checks all the boxes,” and emphasized that the January 6 event will not be a “rally”:




                                                11
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        Finally, on January 4, Defendant Meggs expressed his disdain for D.C. police officers:




This sentiment appears in conflict with Defendant Meggs’s allegation in his motion (and what he

stated to the FBI upon his arrest) that he was at the Capitol to help “protect” police officers. (ECF

82 at ¶ 15.)

                        2. Go To Meeting records

        Between December 12, 2020, and January 3, 2021, Defendant Meggs organized and

participated in approximately ten online meetings on Go To Meeting that were affiliated with the

Oath Keepers. 7 Defendant Meggs did not use his real name; he used the moniker “Gator 1.” The


7
 Go To Meeting is an online meeting site that allows users to host conference calls and video conferences
via the Internet in real time.

                                                   12
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names of the meetings included “se leaders dc 1/6/21 op call,” “dc planning call,” and “florida dc

op planning chat”:




Other individuals who were with Defendant Meggs in Washington, D.C., on January 6, also

participated in these meetings, including co-defendant Kenneth Harrelson (as “Gator 6”).

                        3. Email records

        On the evening of January 3, 2021, co-defendant Steele sent an email to Defendant

Meggs’s email account at Proton Mail, 8 copying co-defendant Young. Steele attached her

application and vetting form, and wrote: “My brother, Graydon Young told me to send the

application to you so I can be verified for the Events this coming Tuesday and Wednesday.”

Defendant Meggs appears to have provided instructions to co-defendant Steele, because the

following day (January 4), Steele again sent her application and vetting form to another Oath

Keepers email address at Proton Mail. On her email, she copied Defendant Meggs. In contrast to

this evidence, Defendant Meggs inexplicably told the FBI that “the only person I’ve ever vetted”

was a man six months earlier. Interview Tr. at 28-29.


8
 Proton Mail is housed overseas (in Switzerland) and offers end-to-end encryption. “Even the company
hosting your emails has no way of reading them, so you can rest assured that they can’t be read by third
parties either.” Mindaugas Jancis, ProtonMail review: have we found the most secure email provider in
2021?, CyberNews, Mar. 4, 2021, at https://cybernews.com/secure-email-providers/protonmail-review.
According to his financial records, Defendant Meggs has a recurring charge to Proton Mail, suggesting he
has a premium account.

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       Moreover, on January 8, 2021, two days after the attack on the Capitol, co-defendant

Young wrote in an email that Defendant Meggs – using the moniker “OK Gator 1” – was the

group’s “team leader” at the Capitol.

                       4. Hotel and financial records

       Defendant Meggs not only led and planned the Oath Keepers’ activities, he financed them.

He paid for two separate adjoining rooms at the Hilton Garden Inn in Washington, D.C., from

January 5 to 7, but he and his wife (co-defendant Connie Meggs) only stayed in one of them.

Moreover, Defendant Meggs paid for the two rooms with two different credit cards.

       Several other Oath Keepers, including co-defendants Watkins, Crowl, and Caldwell, stayed

at the Comfort Inn in Arlington between January 5 and 7. Defendant Meggs paid for two rooms

at that hotel during that period, even though he did not stay there.

                       5. Signal records

       Several members of the conspiracy – as well as other members of the Oath Keepers –

participated in a Signal chat titled “DC OP: Jan 6 21.” The chat shows that the participants were

activating a plan to use force on January 6. Notably, Defendant Meggs was a member of the chat

(as “OK Gator 1”), as were co-defendants Jessica Watkins and Kenneth Harrelson.

       On January 1, 2021, Defendant Meggs wrote to the group that they may already be in an

“actual ware [sic]” with “domestic” enemies:




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       On January 2, Defendant Meggs reported that he will be coordinating the “QRF” with the

Oath Keepers from North Carolina:




       On January 3, Defendant Meggs informed the group that a member (likely co-defendant

Young) with a sister (likely co-defendant Steele) who is “leo” (law enforcement officer) provided

her vetting information to join the group, again in contrast to Defendant Meggs’s statements to the

FBI:




       Finally, on January 6 itself, at approximately 1:38 p.m., Person One wrote to the group on

Signal, “All I see is Trump doing is complaining. I see no intent by him to do anything. So the


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patriots are taking it into their own hands. They’ve had enough.” At 2:14 p.m., an individual

leading the coordination of the security details run by the Oath Keepers on January 5-6 stated,

“The have taken ground at the capital[.] We need to regroup any members who are not on

mission.” Person One then reposts that message and instructs the group: “Come to South Side of

Capitol on steps” and then sends a photograph showing the southeast side of the Capitol. At 2:41

p.m., Person One posted another photograph showing the southeast side of the Capitol with the

caption, “South side of US Capitol. Patriots pounding on doors[.]” At around the same time,

Defendant Meggs – with several of his coconspirators – was breaching the Capitol itself.

               iii. Obstructing the Certification: Defendant Meggs’s Actions on January 6

        At around 2:20 p.m. on January 6, the U.S. Capitol Police locked down the Senate chamber

to protect Vice President Pence, the senators, and staffers from the rioters that had begun to storm

the Capitol and from the mob that was enveloping the building. At around 2:30 p.m., law

enforcement began to evacuate Vice President Pence and senators from the Senate chamber. At

about the same time, Defendant Meggs and his coconspirators ascended the steps on the east side

of the Capitol, pushing through and parting the crowd so that they could get closer to the doors at

the top of the steps. Defendant Meggs is one of several individuals in a military-style “stack”

formation, with hands on each other’s backs or flak jackets, some with obvious Oath Keeper

insignias visible on their clothing, moving up through the crowd towards the door of the Capitol.9

Below is a screenshot (with red arrow added to identify Defendant Meggs):




9
 The video is available at the following link, at slide 10: https://apnews.com/article/ex-military-cops-us-
capitol-riot-a1cb17201dfddc98291edead5badc257.

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       Members of the stack of Oath Keepers – including Defendant Meggs – wearing matching

uniforms consisting of camouflaged-combat attire, then aggressively approached the east doors of

the Capitol. These individuals, who are wearing helmets, reinforced vests, and clothing with Oath

Keeper logos and insignia, can be seen moving in an organized and practiced fashion and forcing

their way to the front of the crowd gathered around a set of doors:




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       A close-up view of the badges on the vest of one of these individuals – who appears to be

Defendant Meggs himself – seen just under the Oath Keepers emblem on his shirt, displays the

Oath Keepers motto, “Not On Our Watch.” The badge also says, “I don’t believe in anything. I’m

just here for the violence.”




       Then, at around 2:40 p.m., Defendant Meggs, as part of the stack, and with seven of his

current co-defendants, rushed through the Capitol doors—the same damaged doors described in

detail above—and past a police officer trying to keep the crowd at bay:




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          With several of his coconspirators, Defendant Meggs (red arrow) then moved into the

Rotunda:




          At around 2:47 p.m. – while Defendant Meggs was inside the Capitol – rioters broke into

the Senate chamber. At about the same time, several members of the conspiracy, along with

dozens of other rioters, moved down a hallway connecting the Rotunda to the Senate chamber. 10

The rioters chanted phrases such as “Fuck McConnell,” and tried to continue down the hallway to

the Senate. 11 As described by co-defendant Watkins in a subsequent Parler post: “Yeah. We

stormed the Capitol today. Teargassed, the whole 9. Pushed our way into the Rotunda. Made it

into the Senate even. The news is lying (even Fox) about the Historic Events we created today.”

Thankfully, a group of police officers in riot gear was able to push the rioters back into the Rotunda

(and away from the Senate chamber) by deploying a chemical irritant. 12


10
 It is presently unclear if Defendant Meggs was one of the members of the conspiracy who physically
went down this hallway. The investigation is ongoing.
11
     See https://www.liveleak.com/view?t=9ZobJ_1610107203.
12
  According to co-defendant Watkins’s Parler post, as reported by the press: “We never smashed
anything, stole anything, burned anything, and truthfully we were very respectful with Capitol Hill PD
until they attacked us. . . . Then we stood our ground and drew the line.” Jake Zuckerman, Ohio

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        Defendant Meggs remained inside the Capitol for about 20 minutes in total, until finally

leaving with several of his coconspirators at around 3:00 p.m.

        But Defendant Meggs did not leave the area. At around 4:00 p.m., a large group – including

Defendant Meggs and co-defendants Connie Meggs, Graydon Young, and Laura Steele, other

members of the stack, and other individuals wearing “Oath Keepers” clothing and insignia who

stormed the Capitol – gathered around Person One and stood around waiting for at least 10 minutes

in that location. Defendant Meggs is indicated with a red arrow:




        Similarly, this group standing outside includes Defendant Meggs (blue arrow) and co-

defendants Young (red arrow), Steele (yellow arrow), and Harrelson (green arrow):




bartender and her “militia” drove to D.C. to join the Capitol breach, Ohio Capital Journal, Jan. 13, 2021,
at https://ohiocapitaljournal.com/2021/01/13/ohio-bartender-and-her-militia-drove-to-d-c-to-join-the-
capitol-breach.

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              iv. Future Dangerousness: Defendant Meggs’s Actions After the Attack

        On the evening of January 6, Defendant Meggs wrote in the “DC OP” Signal chat, “Ok

who gives a damn who went in there…. We are now the enemy of the State.” An hour later,

Defendant Meggs wrote to the same Signal chat: “We aren’t quitting!! We are reloading!!” Far

from second-guessing the actions he led as “team lead” on January 6, Defendant Meggs was ready

for more.

        When the FBI searched Defendant Meggs’s residence on February 17, 2021, the FBI

located more than three firearms. And co-defendant Connie Meggs admitted during her custodial

interview that she participated in a firearms training class with her husband and others to prepare

to be “security” at the rallies and events planned in Washington, D.C., for January 5-6, 2021.

  IV.       CONCLUSION

        For all these reasons, the government submits that Defendant Meggs has not presented

information that constitutes a significant change in the law or facts since Judge Lammens ordered


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him detained.     Defendant Meggs has also not rebutted the presumption under Section

3142(e)(3)(C), that there are no conditions that will reasonably assure the safety of the community.

       Defendant Meggs’s “renewed motion for pretrial release” should therefore be denied.

                                      Respectfully submitted,

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